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        Site Navigation
        
	Courts
	Supreme Court
	Meet the Justices
	Docket &amp; Briefs
	Orders and Announcements
	Oral Argument Audio and Video
	Anticipated Filing Dates and Opinions List
	Petition for Leave to Appeal Dispositions
	Committees and Commissions
	Rules Committee Public Hearings
	Attorney Licensure
	Certificate of Registration (Rule 721)
	Staff and Contact Information
	Supreme Court Library
	Supreme Court Courtroom and Resources


	Appellate Court
	Meet the Justices
	First District
	Second District
	Third District
	Fourth District
	Fifth District
	Workers' Compensation
	Oral Arguments Calendars
	Oral Argument Audio
	Meet the Appellate Court Clerks
	Appellate Court Local Rules
	Appellate Court Districts and Resources


	Circuit Court
	Chief Judges and Administrative Staff
	Circuit Court Clerks
	Jury Information
	Judicial Directory
	Illinois Circuit Court Statistical Reports
	Manual on Recordkeeping
	Circuit Courts and Resources


	Additional Resources
	Judicial Events
	Court Forms Hub
	Remote Proceedings
	High-Profile Cases
	Employment Opportunities
	Probation Eligible Employment Application
	Procurement Opportunities
	Holidays &amp; Closings
	Judicial Directory
	Judicial Branch Policies &amp; Standards
	Office of Statewide Pretrial Services
	Pretrial Implementation Task Force
	Illinois Judicial Conference
	Mental Health Task Force




	Opinions
	Rules / Law
	Supreme Court Rules
	Supreme Court Rules of Professional Conduct
	Illinois Rules of Evidence
	Appellate Court Local Rules
	IPI Jury Instructions
	Illinois Compiled Statutes
	Administrative Code (JCAR)
	Rules of Procedure (IBAB)
	Illinois Constitution
	U.S. Constitution


	Services
	Illinois e-Court Initiatives
	re:SearchIL (Statewide Document Repository)
	eFileIL (Statewide e-filing)
	Certificate of Registration (Rule 721)
	Volunteer Pro Bono Program for Criminal Appeals
	Court Improvement Program (CIP)
	Probation and Pretrial Practices
	Declaration of Economic Interest Forms (Rule 68)
	Attorney Licensure
	Bar Admission Ceremonies
	Supreme Court Library


	Forms
	Approved Statewide Forms
	Uniform Mental Health Orders
	Probation Reimbursement Invoice Voucher
	Annual Certification of Private Insurance Coverage
	Probation Eligible Employment Application
	Judicial Request for Removal of Personal Information
	Judicial Speakers Bureau Request Form
	Unlawful Use of a Weapon Sentencing Form (SPAC)
	Judicial Branch Application for Employment
	State C-10 Travel Voucher Form
	Court Forms Hub
	Representation by Law Students / Graduates (Rule 711)


	Reports
	Annual Report of the Illinois Courts
	Circuit Civil, Criminal and Traffic Assessment Reports
	Illinois Judicial Branch Strategic Agenda
	Annual Reports to the General Assembly
	Mandatory Arbitration Reports
	2016 Statutory Court Fee Task Force Report
	Strategic Agenda Operational Plan
	Results of 2015 Circuit Court User Survey 
	Mental Health and Justice in Cook County Bond Courts
	Access to Justice Commission's Strategic Plan
	Illinois Circuit Court Statistical Reports


	AOIC
	Executive Office
	Access to Justice Division
	Administrative Services Division
	Communications Division
	Courts, Children and Families Division
	Court Services Division
	Human Resources Division
	Judicial College Division
	Judicial Education Division
	Judicial Management Information Services Division (IT)
	Office of Statewide Pretrial Services
	Probation Services Division
	Contact









      

      
        
  
            
            
  
    
    
    
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